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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

CHERYL RAFFERTY, on behalf of
herself and all others similarly situated,

        Plaintiff,                                              Case No: 5:17-cv-426-Oc-40PRL

v.

RETRIEVAL-MASTERS CREDITORS
BUREAU, INC., doing business as
RMCB COLLECTION AGENCY, and
John Does 1-25.

         Defendants.
----------------------------------------------------------/

                    MOTION FOR JUDGMENT ON THE PLEADINGS
                      OR IN THE ALTERNATIVE FOR PARTIAL
                              SUMMARY JUDGMENT

         Plaintiff, Cheryl Rafferty, moves for Judgment on the Pleadings or in the

alternative for Partial Summary Judgment in light of the answer filed by

Defendant, Retrieval-Masters Creditors Bureau, Inc. and the collections letter it

attached as Exhibit 1 thereto. In short, the Defendant’s Answer leaves no factual

dispute over the letter it sent Plaintiff. As Defendant’s Answer put it, “Exhibit 1 to

the Answer [i.e. the collections letter at issue] speaks for itself”. See Answer, Doc.

13 at paragraphs 9, 16, 17, 22, 23, 28 and 37. As a matter of law, that letter violates

the Fair Debt Collections Practices Act (“FDCPA”).

              I.       SUMMARY OF THE COMPLAINT’S ALLEGATIONS

         On June 7, 2017, Swiss Colony placed Plaintiff’s account with Defendant for

the purpose of collection of an alleged personal debt. See paragraph 16 of the



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Complaint. Defendant then mailed to Plaintiff a letter attempting to collect it. Id.

at paragraph 17. A copy of the collections letter (hereinafter referred to as “the

letter”) is attached to both Plaintiff’s Complaint as Exhibit A as to Defendant’s

Answer as Exhibit 1.

      The letter states on its front side that Plaintiff’s “account has been

outstanding for some time and our client has informed us that this has been

reported to a credit bureau.” Id. It continues by stating that “Now is the time for

you to address this seriously past due account. Your payment in full in the amount

of $440.90 is necessary.” (bold in original). Id. Its front side continues by directing

Plaintiff twice to send the money to Defendants in the enclosed envelope. Id.

(“Please send your check or money order to us in the enclosed envelope made

payable to Retrieval Masters Creditors Bureau” and “Detach and return this

portion with payment using enclosed envelope.”) (emphasis in original). It

also states, “Amount Due” in font double or triple the size of any of the other fonts

used in the letter inside a large red box. Id. The front also contains the headline1

“IMPORTANT NOTICE” three times down its right side, while the back side

contains no such labeling and, instead, is in plain small font. Id.

      Although there is ample room for the disclosure to Plaintiff regarding her

rights to dispute the debt to be on the font of the notice, Defendants intentionally




1 A validation notice may be deemed "overshadowed" when contradictory language
is in "screaming headlines" or the notice language is difficult to read because it is in
fine print, faint print, or confusing typeface. See Peter v. GC Services, 310 F.3d 344,
349 n. 2 (5th Cir. 2002).


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regulated that validation notice to the back side of the June 7, 2017 letter.2 Id.

Moreover, prior to the validation notice, Defendant added this extra language

directed to “consumers”: “The disclosures below are required by state or federal law.

This is not intended to be a complete statement of all rights consumers may have

under state and federal law.” Id. Finally, the back side of the letter prominently

displays a third payment instruction, such as the direction to “Return the bottom of

portion with your check, credit card information or money order.” Id.

                   II. FACTUAL ALLEGATIONS ADMITTED
                       BY THE DEFENDANT’S ANSWER

      The facts admitted by Defendant’s answer and affirmative defenses show

there is no triable issue of fact regarding Defendant’s liability. Answering

paragraph 8 of the Complaint, Defendant admits that its business includes the

collection of unpaid, outstanding account balances that are owed to its clients. In

paragraph 9, Defendant attaches a true and correct copy of the letter at issue in this

case as Exhibit 1. See also answer to paragraphs 16 – 20, 22 – 23. In response to

paragraph 10 of the Complaint, Defendant admits that from time to time the U.S.

Mail is used to mail letters on unpaid, outstanding account balances it is collecting

on behalf of its clients. Paragraph 36 of the answer admits that the collection letter

was accompanied by a return envelope.




2Debt Validation, or "debt verification", refers to a consumer's right to challenge a
debt and/or receive written verification of a debt from a debt collector. The right to
dispute the debt and receive validation are part of the consumer's rights under the
FDCPA and are set out in §809 of that act, which has been codified in Title 15,
Section 1692-1692p of the United States Code.


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      Defendant pled three affirmative defenses. The first two are inapplicable

because Plaintiff is claiming statutory damages - not actual damages. In its third

defense, Defendant claims that its conduct “was not intentional and would have

resulted from a bona fide error notwithstanding the maintenance of procedures

reasonably adapted to avoid such error.” This defense is an apparent reference to

15 U.S. Code § 1692k(c). However, as discussed more thoroughly below, this defense

is also inapplicable to this case because the bona fide error defense under Section

1692k(c) only applies to clerical errors, not mistakes about what the law requires.

                III.   MEMORANDUM OF LEGAL AUTHORITY

      The Fair Debt Collections Practices Act mandates that debt collectors provide

debtors with a written notice informing debtors of their rights under § 1692g,

including, among other things, the right to dispute the validity of the debt in

question within thirty days of receiving the notice. See Bartlett v. Heibl, 128 F.3d

497, 498-99 (7th Cir.1997); see also Wilson v. Quadramed Corp., 225 F.3d 350, 354

(3d Cir.2000) ("[T]he debt validation provisions of section 1692g were included by

Congress to guarantee that consumers would receive adequate notice of their rights

under the law."); Johnson v. Equifax Risk Mgmt. Servs., No. 00 Civ. 7836, 2004 WL

540459, at *4 (S.D.N.Y. Mar. 17, 2004) ("In short, . . . § 1692g requires the debt

collector to inform the consumer of his right to dispute and demand verification of

the debt."). Upon the expiration of the thirty-day validation period, the debt

collector may presume the validity of the debt. Id. at 498.




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      Debt collectors are required to inform consumers of these rights in writing

through what is commonly referred to as a "validation notice." See Jacobson v.

Healthcare Fin. Servs., Inc., 516 F.3d 85, 90 (2d Cir.2008) (discussing consumer

rights established by the FDCPA). Specifically, a validation notice must inform the

consumer of:

      (1) the amount of the debt;

      (2) the name of the creditor to whom the debt is owed;

      (3) a statement that unless the consumer, within thirty days after receipt of
          the notice, disputes the validity of the debt, or any portion thereof, the
          debt will be assumed to be valid by the debt collector;

      (4) a statement that if the consumer notifies the debt collector in writing
          within the thirty-day period that the debt, or any portion thereof, is
          disputed, the debt collector will obtain verification of the debt or a copy of
          a judgment against the consumer and a copy of such verification of
          judgment will be mailed to the consumer by the debt collector; and

      (5) a statement that, upon the consumer's written request within the thirty-
          day period, the debt collector will provide the consumer with the name
          and address of the original creditor, if different from the current creditor.

15 U.S.C. § 1692g(a).

      "Even if a debt collector conveys the required information, the collector

nonetheless violates the Act if it conveys that information in a confusing or

contradictory fashion so as to cloud the required message with uncertainty. Thus, a

debt collector violates the Act if its communication is `reasonably susceptible to an

inaccurate reading' of the required message." De-Santis v. Computer Credit Inc., 269

F.3d 159, 161 (2d Cir.2001) (quoting Russell, 74 F.3d at 35); see also Savino v.

Computer Credit, Inc., 164 F.3d 81, 85 (2d Cir.1998) ("A debt collection notice is




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overshadowing or contradictory if it fails to convey the validation information

clearly and effectively and thereby makes the least sophisticated consumer

uncertain as to her rights."). Moreover, in establishing whether language contained

in a notice overshadowed or contradicted the mandatory validation notice, "[i]t is

unnecessary to prove the contradiction is threatening." Russell, 74 F.3d at 35; see

also Desantis v. Roz-Ber, Inc., 51 F.Supp.2d 244, 249 (E.D.N.Y.1999).

      "The FDCPA establishes a strict liability standard; a consumer need not

show intentional violation of the Act by a debt collector to be entitled to damages.”

Castro v. ARS Nat'l Servs., Inc., No. 99 Civ. 4596, 2000 WL 264310, at *2 (S.D.N.Y.

Mar. 8, 2000) (citing Russell, 74 F.3d at 33). A single violation of the Act is sufficient

to subject a debt collector to liability under the Act. Id. "When determining whether

§ 1692g has been violated, an objective standard, measured by how the `least

sophisticated consumer' would interpret the notice received from the debt collector,

is applied." Russell 74 F.3d at 34 (additional citations omitted). That is, "the test is

how the least sophisticated consumer—one not having the astuteness of a

`Philadelphia lawyer' or even the sophistication of the average, everyday, common

consumer—understands the notice he or she receives." Russell, 74 F.3d at 34.

      "Courts in the Eleventh Circuit use the `least sophisticated consumer'

standard when analyzing overshadowing claims. As a general matter, language is

overshadowing if it would make the least sophisticated consumer uncertain as to his

or her rights." Shimek v. Weissman, Nowack, Curry & Wilco, P.C., 323 F. Supp. 2d

1344, 1349 (N.D. Ga. 2003) aff'd, 374 F.3d 1011 (11th Cir. 2004) (citing Jeter v.




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Credit Bureau, Inc., 760 F.2d 1168, 1175-76 (11th Cir.1985). "[T]he determination of

whether language overshadows the validation notice is a question of law." Shimek,

323 F. Supp. 2d at 1349. By way of comparison to the Eleventh Circuit’s “least

sophisticated consumer” standard, other circuits have adopted the "unsophisticated

consumer" standard – something that would be less onerous on collection agencies

and which makes cases in those circuits less applicable to the instant case. See

Gammon v. GC Services Limited Partnership, 27 F.3d 1254, 1257 (7th Cir.1994). By

adopting the “least sophisticated consumer” standard, the 11th Circuit has decided

to protect all consumers, the gullible as we as the shrewd. Clomon v. Jackson, 988

F.2d 1314, 1318 (2d Cir.1993) (”The basic purpose of the least-sophisticated-

consumer standard is to ensure that the FDCPA protects all consumers, the gullible

as well as the shrewd.").

    IV.    THE FRONT OF THE LETTER AND PORTIONS OF ITS BACK
                OVERSHADOW THE VALIDATION NOTICE

      Even if a defendant provides the requisite validation notice under 1692g, it

may still be liable under § 1692 if its communication "overshadows or contradicts"

such notice. Barrientos v. Law Offices of Mark L. Nichter, 76 F.Supp.2d 510, 513

(S.D.N.Y.1999), citing Russell v. Equifax A.R.S., 74 F.3d 30, 34-35 (2d Cir.1996). A

notice is overshadowing or contradictory "if it would make the least sophisticated

consumer uncertain as to her rights." Id. at 35.

      A.     To the Least Sophisticated Consumer, The Front of the Letter
             States That Now is the Time to Pay the Necessary Amount Due

      Pursuant to 15 U.S.C. Section 1692g, Plaintiff had the right to dispute the

validity of the debt by notifying Defendant in writing within 30 days of the dispute


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and obtain verification from Defendant of proof of the debt. Communications

designed to create a false sense of urgency violate Section 1692. See Morgan v.

Credit Adjustment Board, Inc., 999 F.Supp. 803, 808 (E.D.Va. 1998) (“the notice

could easily be interpreted by the least sophisticated consumer as creating a false

sense of urgency, which also violates the FDCPA”); Creighton v. Emporia Credit

Service, Inc., 981 F.Supp. 411, 416 (E.D.Va. 1997) (“the least sophisticated debtor

could reasonably interpret the notice as a demand for immediate payment. . . . This

contradicts the validation notice's declaration that the consumer or debtor has

thirty days to dispute the debt.”).

      In Miller v. Payco-General Am. Credits, Inc., 943 F.2d 482, 484 (4th Cir.1991),

the collection agency sent a letter that, among other things, demanded "immediate

full payment” emphasized by the word "now." The court held that the “emphasis on

immediate action also stands in contradiction to the FDCPA, which provides

consumers a thirty-day period to decide to request validation.” Id. at 484. Because a

consumer who received the form could easily be confused between the commands to

respond "immediately," "now," and "today," and the thirty-day response time

contemplated by the statute, Payco violated the Act. Id.

      The letter sent by Defendant could easily confuse a consumer who received it

between the commands to respond "now" to pay the “amount due” which already

“has been reported” and the thirty-day response time contemplated by the statute.

The front of the letter in the instant case states:




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      • “Now is the time for you to address this seriously past due account.
        Your payment in full in the amount of $440.90 is necessary.” (bold
        in original);

      • “Amount Due” emphasized in a red box in font double or triple the
        size of any of the other fonts used in the letter – including the
        language in much smaller font on the back;

      • It states that the alleged debt “has been reported to a credit
        bureau,” and - at the same time - Defendant refers to itself as a
        “creditors bureau”;

      • It contains the term “IMPORTANT NOTICE” three times down its
        right side highlighted by a greenish background, while the back
        side contains no such labeling and, instead, is in plain small font;

      • Although this appears to be Defendant’s first contact with
        Plaintiff, it states that the account has been “outstanding for some
        time”; and

      • It demands payment at least two times (and once on the back):
        “Please send your check or money order to us in the enclosed
        envelope made payable to Retrieval Masters Creditors Bureau”
        and “Detach and return this portion with your payment
        using enclosed envelope” (bold in original).

      A least sophisticated consumer reading the front side of the letter would see

that the specified “Amount Due” is “necessarily” due “now”. It also states that the

account has been “outstanding for some time,” implying that the time has passed for

disputing it and instead “Now” is the time to pay it. It states in this “IMPORTANT

NOTICE” that the debt has already been provided to a “credit bureau” and the

Defendant refers to itself as one such bureau.

      Defendant’s letter conveys urgency by its statements that the “Amount Due”

is “necessarily” due “now” and that the account has been “outstanding for some

time.” Three directions are given to pay (two on the front and one on the back):




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“Please send your check or money order to us in the enclosed envelope made

payable to Retrieval Masters Creditors Bureau,” “Detach and return this

portion with your payment using enclosed envelope (bold in original), and

“Return the Bottom with your check, credit card information or money order.”

      Those commands along with the rest of the letter could easily confuse the

least sophisticated consumer from believing that payment is due now instead of

understanding their right to dispute and validate the debt. See also Veillard v.

Mednick, 24 F.Supp.2d 863, 869 (N.D.Ill.1998) (finding language stating creditor

"shows this obligation to be due immediately" was the same as stating "make

payment immediately" and therefore created confusion as to what would happen if

debtor disputed validity of the debt). These urges to pay the alleged debt now

overshadow Plaintiff’s rights provided by 15 U.S.C. Section 1692g.

      B.     To the Least Sophisticated Consumer, The Back of the Letter
             Also Overshadows the Validation Notice

      The overshadowing of Plaintiff’s rights to dispute the debt is even more

compelling when the back side of the letter is read by the least sophisticated

consumer. As explained below, the language and format used by Defendant on the

back of the letter also could reasonably mislead a least sophisticated consumer to

ignore its rights to dispute the debt. See also Clomon v. Jackson, 988 F.2d 1314,

1319 (2d Cir.1993) (format of letter can contribute to violation); Papetti v. Rawlings

Financial Services, 121 F. Supp. 3d 340 (S.D.N.Y. 2015) (noting that the size of font

is important); Miller v. Payco-General Am. Credits, Inc., 943 F.2d 482, 483 (4th

Cir.1991) (finding violation where letter included large, red, boldface, capitalized



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language demanding immediate payment multiple times and included the requisite

validation notice on the back of the page, in small gray font).

                    a.     “SEE REVERSE SIDE FOR IMPORTANT
                           INFORMATION” Refers to Directions to Pay

      Despite ample room on the front, Defendant intentionally regulated the

validation notice to the back side of the letter.3 However, the back side of the letter

not only inconspicuously lists the validation notice at the very top, it more

prominently displays the following information centered and towards the bottom

and in the same font as the validation notice:

                             ^ Detach along this edge. ^
       Return the bottom of portion with your check, credit card information or
                                 money order.
       Include your account number, name and address on all correspondence.

                      Thank you for your attention to this matter.

Notably, these payment information lines up exactly with the front side of the

letter’s instruction to “SEE REVERSE SIDE FOR IMPORTANT INFORMATION” -

both of those notices are on the same position on each sides of the letter. To the

unsophisticated consumer, or even to the most sophisticated consumer, the

“IMPORTANT INFORMATION” referenced on the front side of the letter is a




3 In addition to the "content" requirements, almost all courts addressing this issue
also require that the "form" of the notice not be "inconspicuous." Riveria v. MAB
Collections, Inc., 682 F.Supp. 174 (W.D.N.Y.1988)("For a notice to be sufficient it
must be placed in such a way that a reasonable consumer would be aware of its
message."); Ost v. Collection Bur., Inc., 493 F. Supp. 701, 703 (D.N.D.1980) (no
reference to notice on face of form when combined with small, onerous to read, print
size "point[ed] to a deliberate policy on the part of the collector to evade the spirit of
the notice statute, and mislead the debtor into disregarding the notice").


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reference to the language about how the letter’s recipient should make a payment.

In fact, lining up the font of the letter’s instruction to “SEE REVERSE SIDE FOR

IMPORTANT INFORMATION” with the back shows that language actually refers

to the information about how to pay.

                    b.    “SEE THE REVERSE SIDE OF THIS LETTER FOR
                          IMPORTANT INFORMATION ABOUT YOUR RIGHTS”
                          is Insufficient to Comply with the Act

      As explained above, the letters reference to “SEE REVERSE SIDE FOR

IMPORTANT INFORMATION” clearly refers to the payment instructions on the

back – even to the most sophisticated reader. Thus, the Defendant’s entire case

essentially rests on its reference on the front of the letter to “"SEE REVERSE SIDE

FOR IMPORTANT INFORMATION ABOUT YOUR RIGHTS." This reference is

insufficient to comply with the Act.

      In Rabideau v. Management Adjustment Bureau, 805 F.Supp. 1086, 1093

(W.D.N.Y.1992), the court held insufficient a reference to the back side of a letter

when the back contained both a validation notice and directions on how to make a

credit card payment. Thus, the court held in Rabideau that the suggestion, "SEE

REVERSE SIDE FOR IMPORTANT INFORMATION" was inadequate because it

did not effectively convey to the least sophisticated consumer that important

congressionally created rights applicable to his or her situation appear on the

reverse side of the letter. Id. The court held:

      In this circumstance, the suggestion, "See Reverse Side for
      Important Information," which Defendant argues refers to the
      validation notice is, at best, ambiguous and, at worst, misleading.
      In either case, it is inadequate because it is neither prominent nor



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      does it effectively convey to the least sophisticated consumer that
      important congressionally created rights applicable to his or her
      situation appear on the reverse side of the letter.

Id. at 1094. Thus, simply stating "SEE REVERSE SIDE FOR IMPORTANT

INFORMATION" was insufficient to comply with the Act. Id.

      Likewise, the least sophisticated consumer could easily consider “SEE

REVERSE SIDE FOR IMPORTANT INFORMATION” as a duplicate notice to “SEE

THE REVERSE SIDE OF THIS LETTER FOR IMPORTANT INFORMATION

ABOUT YOUR RIGHTS”. The letter is unclear as to whether these notices are

duplicates, in which case they could both be referring to the payment information

on the back. The reference to “IMPORTANT INFORMATION ABOUT YOUR

RIGHTS” could easily be interpreted to relate to Plaintiff’s rights to pay the alleged

debt by returning the bottom of portion with your check, credit card information or

money order and including the account number, name and address on all

correspondence. The reference to the back of the letter could either be to the

validation notice or the instructions to pay. Thus, it did not comply with the Act.

      Moreover, the reference on the front of the letter to “SEE THE REVERSE

SIDE OF THIS LETTER FOR IMPORTANT INFORMATION ABOUT YOUR

RIGHTS” conflicts with the language Defendant added at the top of the letter’s

reverse side. By adding this sulfurous language that “This is not intended to be a

complete statement of all rights consumers may have under state and federal law”

to the top of the reverse side, it is unclear as to what “RIGHTS” the front of the

letter is referencing and whether or not the validation notice itself is such a




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“RIGHT.” In fact, this language that “[t]his is not intended to be a complete

statement of all rights” literally means that the validation notice below it is

incomplete and not actually an accurate statement of rights.

                    c.     The Validation Notice is not Effectively Conveyed to the
                           Least Sophisticated Consumer and is Overshowed by the
                           Remainder of the Letter

      Merely including the required validation notice alone does not satisfy the

statute; rather the validating notice must be effectively conveyed to the debtor. See

Swanson v. S. Oregon Credit Serv., Inc., 869 F.2d 1222, 1225 (9th Cir.1988). The

extra language Defendant added at the top of the back side of the letter refers to the

rights of “consumers” – technical language that the least sophisticated consumer

would not recognize. See 15 USC 1692a Section 803(a)(3) (“The term ‘consumer’

means any natural person obligated or allegedly obligated to pay any debt”). By way

of comparison, the front of the letter names Plaintiff by her actual name and makes

numerous references to Plaintiff by stating “you” or “your”. Notably, the bottom

part of the back (directing the recipient on how to return the payment) also refers to

Plaintiff as both “you” and “your” (“Return the bottom portion with your check…”

and “Include your account number). Failing to properly inform Plaintiff that the

validation notice is directed to her is also a violation of the Act. See Riveria v. MAB

Collections, Inc., 682 F.Supp. 174, 177 (W.D.N.Y.1988) (Larimer, J.) (failure to

provide appropriate language on the reverse side of a notice, calculated to alert the

reader that the information, i.e., a validation notice, was directed to her or him, is

evidence of an intentional violation of the statute).




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      Additionally, the validation notice states that unless you “notify this office

within 30 days after receiving this notice that you dispute the validity of this

debt….” but it is unclear as to what “this office” is. Nowhere in the rest of the letter

does it refer to an office, and the front of the letter contains two addresses for

Defendant (one a P.O. Box at the bottom and physical address with a suite number

at the top). The return envelope and accompanying tear off bottom portion of the

letter are directed to a P.O. Box address – not an office. “This office” might also

mean the original alleged creditor, identified on the front as: “You Owe: Swiss

Colony.” See also paragraph 1 of the front of the letter (“We have been authorized to

contact you regarding your past due account with our client, Swiss Colony, in the

amount of $440.90”). See Savino v. Computer Credit, Inc., 164 F.3d 81, 85 (2d Cir.

1998) (There is a violation of the FDCPA if the letter's communication is

"reasonably susceptible to an inaccurate reading" of the required message.)

      The validation notice is unclear about where any disputes should be mailed;

at a minimum, it is subject to three different interpretations about whether it

should be sent to the suite identified at the top of the front of the letter, a P.O. Box,

or to Swiss Colony’s office (the entity that the letter’s recipient would likely have

been familiar with as the original creditor). By way of comparison, the directions

about how to pay the claimed Amount Due are made clear at least 3 times and

include a return envelope so that no mistakes to payment can be made. By

providing uncertainty or confusion as to how to dispute the debt, Defendant also

violated the Act. See Chauncey v. JDR Recovery Corp., 118 F.3d 516, 519 (7th Cir.




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1997) (holding that there was contradiction in a letter regarding when the dispute

should be mailed back to the collection agency).

                     C.     Defendant’s Affirmative Defenses

      Plaintiff does not seek actual damages – only statutory damages and

declaratory judgment, so the first two affirmative defenses are inapplicable. As to

the third defense, a debt collector will not violate the FDCPA if it can demonstrate

"by a preponderance of evidence" that "the violation was not intentional and

resulted from a bona fide error notwithstanding the maintenance of procedures

reasonably adapted to avoid any such error." 15 U.S.C. § 1692k(c). To qualify for the

FDCPA's bona fide error defense, the debt collector must show that "(1) the

violation was unintentional; (2) the violation was a result of a bona fide error; and

(3) the debt collector maintained procedures reasonably adapted to avoid any such

error." Hartman v. Great Seneca Fin. Corp., 569 F.3d 606, 614 (6th Cir. 2009) (citing

Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 538 F.3d 469, 476-77 (6th

Cir. 2008), rev'd on other grounds, 559 U.S. 573 (2010)). However, this defense is

inapplicable to this case because there is no clerical error at issue.

             a.   The Bona Fide Error Defense Only Applies to Clerical Errors
                  Such as Typographical Errors and Miscalculations of Amounts
                  Owed

      The bona fide error defense does not apply to mistaken interpretations of the

legal requirements of the FDCPA. Jerman v. Carlisle, McNellie, Rini, Kramer &

Ulrich, L.P.A., 559 U.S. 573, 604-05 (2010). The Supreme Court in Jerman

addressed the previously unsettled question of whether, for the purposes of the bona




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fide error defense, a debt collector's violation is intentional if the debt collector

performs an intentional act, with no intent to violate the FDCP. See Johnson v.

Riddle, 443 F.3d 723, 728 (10th Cir. 2006) (questioning "whether it is the general

intent to collect a debt or whether it is the specific intent to violate the FDCPA" that

violates the "not intentional" element of the bona fide error defense). The Court

summarized the dispute as "whether a `violation' resulting from a debt collector's

misinterpretation of the legal requirements of the FDCPA can ever be `not

intentional.'" Jerman, 130 S.Ct. at 1611. The Court held that the bona fide error

defense does not cover a mistake of law. It reasoned that "[o]ur law is . . . no

stranger to the possibility that an act may be `intentional' for the purposes of civil

liability, even if the actor lacked actual knowledge that her conduct violated the

law." Id. at 1612

       “Following Jerman, the intentional prong of the bona fide error defense can

no longer be whether a defendant specifically intended its actions to violate the

FDCPA.” Allen v. Checkredi of Kentucky, LLC, Civil Action No. 09-103-DLB (D.C.

E.D. Kentucky, November 17, 2010). As the petitioner successfully argued in its

Supreme Court brief, a violation that is not intentional could mean two things: "It

could mean that the defendant did not intend to commit the act that violated the

statute" or it "could refer to a defendant who knows exactly what she is doing but

does not realize that her intentional act will violate the statute." Brief for Petitioner

at 14, Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 130 S.Ct. 1605




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(2010) (No. 08-1200), 2009 WL 3043969 at *14. By definition, only the latter

standard could cover a mistake of law. Id.

      Here, Defendant admits it sent to Plaintiff the letter attached as Exhibit 1 to

its Answer – there is no clerical at issue in this case. See Bassett v. I.C. Sys., Inc.

715 F.Supp.2d 803, 813 (N.D. Ill 2010) (interpreting Jerman to mean that "a debt

collector's conduct may be intentional even if he lacked the actual knowledge that

his conduct violated the FDCPA" and consequently, "the bona fide error defense

under Section 1692k(c) only applies to procedural or clerical errors"); McNall v.

Credit Bureau of Josephine Cnty., Inc., No. 07-3075, 2010 WL 3306899, at *3 (D. Or.

Aug. 19, 2010) (finding the bona fide error defense unavailable because the

defendant "made a conscious decision not to report Plaintiff's debt as disputed" and

this failure was not an unintended factual or clerical mistake). Defendant’s

affirmative defense also does not claim a clerical error:

                             Third Affirmative Defense
      RMCB affirmatively states that any violation of law, which it denies
      occurred, was not intentional and would have resulted from a bona fide
      error notwithstanding the maintenance of procedures reasonably
      adapted to avoid such error. These procedures include, but are not
      limited to, policies and procedures in place regarding reviewing and
      implementation of compliance with lawful options to provide to account
      holders regarding information on account balances and disclosures
      required by law. This includes the retention of individuals, including
      legal counsel, with knowledge of federal law to review status of federal
      law and ensure compliance with same. It, furthermore, includes
      constant review, re-review and analysis of the FDCPA text itself and of
      authorities interpreting and analyzing the FDCPA, including case law,
      industry guidance, and adjustment of its collection practices as
      suggested by these authorities. In addition, RMCB is a member of the
      Association of Credit and Collection Professionals, which is the leading
      trade association in the United States for collection agencies on debt
      collection compliance.



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This defense, which essentially claims that Defendant investigated the law but was

mistaken as to its application, is no longer permitted as a valid defense per Jerman

because the bona fide error defense does not cover a mistake of law. The status of

the law in this regard was recently addressed by this Court in Palmer v. Dynamic

Recovery Solutions, LLC, Case No. 6:15-cv-59-Orl-40KRS (M.D. Fla., May 4th 2016):

       the U.S. Supreme Court has limited the defense solely to clerical and
       factual mistakes made in the collection of debts. Such mistakes include
       typographical errors, miscalculations of amounts owed, and other
       inadvertent missteps in the debt collection process. Because Defendants'
       alleged violation in this case revolves around their misinterpretation of
       the law—that is, Defendants' mistaken belief that the failure to disclose
       to a consumer that they cannot legally enforce a debt does not
       misrepresent the character or legal status of that debt—the violation
       would not be covered by the bona fide error defense.

(emphasis supplied, citations and parentheticals omitted). Plaintiff is not making a

claim of a clerical or factual error regarding the amount owed. Her claims are based

on the Defendant’s formatting and structure present in the letter attached as

Exhibit 1 to Defendant’s Answer. Thus, the third affirmative defense is as

inapplicable to this case as the first two defenses.

                 b. There are no Other Issues Precluding a Decision on Whether
                    the Letter Overshadows the Validation Notice

      The validity of the underlying debt is immaterial. McCartney v. First City

Bank, 970 F.2d 45 (5th Cir. 1992). The focus is on the debt collector's conduct, not

the consumer's. Keele v. Wexler, 149 F.3d 589 (7th Cir. 1998). Whether plaintiff even

receives an offending communication is irrelevant to liability. Morgan v. Credit

Adjustment Board, Inc., 999 F.Supp. 803, 805-06 (E.D.Va. 1998). Likewise, whether




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Plaintiff read the letter is "of no moment on the issue of whether a violation has

occurred." Kuhn v. Account Control Technology, Inc., 865 F.Supp. 1443, 1450

(D.Nev. 1994); see also, Russell v. Equifax A.R.S., 74 F.3d 30, 33 (2nd Cir.1996)

(holding the FDCPA is a remedial, strict liability statute requiring no proof of

deception or actual damages to obtain its statutory remedies); Savino v. Computer

Credit, Inc., 960 F.Supp. 599, 605 (E.D.N.Y.1997) (rejecting as "contrary to the

applicable law" the debt collector's argument that consumer was barred from

receiving damages because he did not receive the letter).

      Intent is not an element of liability. Patzka v. Viterbo College, 917 F.Supp.

654 (W.D.Wis. 1996). Neither knowledge nor intent necessary to establish liability.

Pittman v. J.J. Mac Intyre Co., 969 F.Supp. 609 (D.Nev. 1997). Plaintiff therefore

need suffer no actual injury whatsoever to recover. See Russell v. Equifax A.R.S., 74

F.3d 30 (2nd Cir. 1996); Bentley v. Great Lakes Collection Bureau, 6 F.3d 60 (2nd

Cir. 1993); Pittman v. J.J. Mac Intyre Co., 969 F.Supp. 609 (D.Nev. 1997).

Declaratory judgment nevertheless is an appropriate remedy. Gammon v. GC

Services, 162 F.R.D. 313 (N.D.Ill. 1995).

                V. CONCLUSION AND REQUEST FOR RELIEF

      The issue before this Court is not to “decide whether the debtor or the debt

collector offers ‘a more appropriate reading’ of a debt collection letter.” Caprio v.

Healthcare Revenue Recovery Grp., LLC, 709 F.3d 142, 151 (3d Cir. 2013). Instead,

the document must be interpreted from the perspective of "least sophisticated

debtor." Id. The Act is designed “to protect naïve and even gullible individuals, the




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`least sophisticated debtor' standard is `lower than simply examining whether

particular language would deceive or mislead a reasonable debtor.' Id., citations

omitted. Here, the front of the letter – and even parts of its reverse side –

overshadow the validation notices required by 15 U.S. Code § 1692g. Thus, the

letter violates § 1692g.

      Therefore, Plaintiff respectfully requests that judgement be entered in

Plaintiff’s favor as to liability and a declaration that the letter attached as Exhibit 1

to Defendant’s Answer violates the FDCPA - with the Court reserving jurisdiction

for all other issues in this case such as the application of statutory damages,

whether any particular employee or supervisor of Defendant should be held

personally liable and substituted for the John Does named4, and class certification

issues, attorney’s fees, costs and damages remaining for future determination.

      November 14, 2017

                                                /s/ Michael Massey
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4 Both the collection agency/employer and supervisor and offending employee are
liable. West v. Costen, 558 F.Supp. 564 (W.D.Va. 1983). Moreover, the Statutory
definition includes both. Commentary Sections 803(6)- 1, Illustration 1, and 813-1;
Newman v. Checkrite California, 912 F.Supp. 1354 (E.D.Ca. 1995); Drennan v. Van
Ru Credit Corp., 950 F.Supp. 858 (N.D.Ill. 1996); Ditty v. Checkrite, Ltd., Inc., 973
F.Supp. 1320 (D.Utah 1997). Thus, there is joint and several liability. Teng v.
Metropolitan Retail Recovery, Inc., 851 F.Supp. 61 (E.D.N.Y. 1994).


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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foreign has been

delivered electronically by filing the same with the Court’s electronic filing system

and sending a copy to counsel for the Defendant on this November 14, 2017.


                                               s/ Michael Massey
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